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                   EXHIBIT “F”
                           Case 1:25-cv-00414-SEG                            Document 1-6                   Filed 01/30/25                  Page 2 of 23
                                              COMMERCIAL INSURANCE APPLICATION                                                                                         DATE (MM/DD/YYYY)

                                                              APPLICANT INFORMATION SECTION                                                                                 02/08/2023
                                                                                              CARRIER                                                                            NAIC CODE
AGENCY
Relation Insurance, Inc.
5825 Medlock Bridge Parkway                                                                   COMPANY POLICY OR PROGRAM NAME                                               PROGRAM CODE



Johns Creek                                                             GA 30022              POLICY NUMBER


CONTACT Kim Langley                                                                           UNDERWRITER                                      UNDERWRITER OFFICE
NAME:
PHONE            (678) 740-0241
(A/C, No, Ext):
FAX         (678)  740-0241                                                                                                QUOTE                       ISSUE POLICY               RENEW
(A/C, No):
E-MAIL                                                                                        STATUS OF
ADDRESS:
              kim.langley@relationinsurance.com                                               TRANSACTION
                                                                                                                           BOUND (Give Date and/or Attach Copy):

                                                                                                                           CHANGE           DATE                   TIME                AM
CODE:                                           SUBCODE:

AGENCY CUSTOMER ID:      00199161                                                                                          CANCEL         06/20/2023               12:01               PM

LINES OF BUSINESS
INDICATE LINES OF BUSINESS                PREMIUM                                                         PREMIUM                                                            PREMIUM

    BOILER & MACHINERY                    $                          CYBER AND PRIVACY                    $                         YACHT                                    $

    BUSINESS AUTO                         $                          FIDUCIARY LIABILITY                  $
                                                                                                                              X                                              $

    BUSINESS OWNERS                       $                          GARAGE AND DEALERS                   $                                                                  $

    COMMERCIAL GENERAL LIABILITY          $                          LIQUOR LIABILITY                     $                                                                  $

    COMMERCIAL INLAND MARINE              $                          MOTOR CARRIER                        $                                                                  $

    COMMERCIAL PROPERTY                   $                          TRUCKERS                             $                                                                  $

    CRIME                                 $                          UMBRELLA                             $                                                                  $

ATTACHMENTS
    ACCOUNTS RECEIVABLE / VALUABLE PAPERS                            GLASS AND SIGN SECTION                                         STATEMENT / SCHEDULE OF VALUES

    ADDITIONAL INTEREST SCHEDULE                                     HOTEL / MOTEL SUPPLEMENT                                       STATE SUPPLEMENT (If applicable)

    ADDITIONAL PREMISES INFORMATION SCHEDULE                         INSTALLATION / BUILDERS RISK SECTION                           VACANT BUILDING SUPPLEMENT

    APARTMENT BUILDING SUPPLEMENT                                    INTERNATIONAL LIABILITY EXPOSURE SUPPLEMENT                    VEHICLE SCHEDULE

    CONDO ASSN BYLAWS (for D&O Coverage only)                        INTERNATIONAL PROPERTY EXPOSURE SUPPLEMENT

    CONTRACTORS SUPPLEMENT                                           LOSS SUMMARY

    COVERAGES SCHEDULE                                               OPEN CARGO SECTION

    DEALERS SECTION                                                  PREMIUM PAYMENT SUPPLEMENT

    DRIVER INFORMATION SCHEDULE                                      PROFESSIONAL LIABILITY SUPPLEMENT

    ELECTRONIC DATA PROCESSING SECTION                               RESTAURANT / TAVERN SUPPLEMENT

POLICY INFORMATION
PROPOSED EFF DATE     PROPOSED EXP DATE             BILLING PLAN              PAYMENT PLAN       METHOD OF PAYMENT         AUDIT        DEPOSIT             MINIMUM          POLICY PREMIUM
                                                                                                                                                            PREMIUM
    06/20/2023             06/20/2024                                            Full Pay                                           $                   $                    $
                                                  DIRECT           AGENCY

APPLICANT INFORMATION
NAME (First Named Insured) AND MAILING ADDRESS (including ZIP+4)                              GL CODE                SIC                       NAICS                      FEIN OR SOC SEC #

The Landmark Condominium Association, Inc.                                                                                                     813990
c/o Management Office                                                                         BUSINESS PHONE #:

215 Piedmont Avenue, NE                                                                       WEBSITE ADDRESS

Atlanta                                                                 GA 30308
    CORPORATION              JOINT VENTURE                              NOT FOR PROFIT ORG              SUBCHAPTER "S" CORPORATION
                                   NO. OF MEMBERS
    INDIVIDUAL               LLC AND MANAGERS:                          PARTNERSHIP                     TRUST

NAME (Other Named Insured) AND MAILING ADDRESS (including ZIP+4)                              GL CODE                SIC                       NAICS                      FEIN OR SOC SEC #



                                                                                              BUSINESS PHONE #:

                                                                                              WEBSITE ADDRESS



    CORPORATION              JOINT VENTURE                              NOT FOR PROFIT ORG              SUBCHAPTER "S" CORPORATION
                                   NO. OF MEMBERS
    INDIVIDUAL               LLC AND MANAGERS:                          PARTNERSHIP                     TRUST

NAME (Other Named Insured) AND MAILING ADDRESS (including ZIP+4)                              GL CODE                SIC                       NAICS                      FEIN OR SOC SEC #



                                                                                              BUSINESS PHONE #:

                                                                                              WEBSITE ADDRESS



    CORPORATION              JOINT VENTURE                              NOT FOR PROFIT ORG              SUBCHAPTER "S" CORPORATION
                                   NO. OF MEMBERS
    INDIVIDUAL               LLC AND MANAGERS:                          PARTNERSHIP                     TRUST

ACORD 125 (2016/03)                                                                     Page 1 of 4                 © 1993-2015 ACORD CORPORATION. All rights reserved.
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                               Case 1:25-cv-00414-SEG                              Document 1-6                     Filed 01/30/25                   Page 3 of 23
                                                                                                         AGENCY CUSTOMER ID: 00199161
CONTACT INFORMATION
CONTACT TYPE:                                                                                         CONTACT TYPE:

CONTACT NAME:                                                                                         CONTACT NAME:
PRIMARY             HOME         BUS       CELL    SECONDARY          HOME        BUS       CELL      PRIMARY              HOME       BUS     CELL      SECONDARY         HOME       BUS     CELL
PHONE #                                            PHONE #                                            PHONE #                                           PHONE #
    404-659-7035
PRIMARY E-MAIL ADDRESS:           landmarkcondomanagement@gmail.com                                   PRIMARY E-MAIL ADDRESS:

SECONDARY E-MAIL ADDRESS:                                                                             SECONDARY E-MAIL ADDRESS:
PREMISES INFORMATION (Attach ACORD 823 for Additional Premises)
LOC #    STREET       c/o Management Office                                             CITY LIMITS     INTEREST                  # FULL TIME EMPL   ANNUAL REVENUES: $

1         215 Piedmont Avenue, NE                                                           INSIDE           OWNER                                   OCCUPIED AREA:                          SQ FT

BLD #    CITY:      Atlanta                                   STATE:         GA             OUTSIDE          TENANT               # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

1        COUNTY:                                              ZIP: 30308                                                                             TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                           ANY AREA LEASED TO OTHERS? Y / N

LOC #    STREET                                                                         CITY LIMITS     INTEREST                  # FULL TIME EMPL   ANNUAL REVENUES: $

                                                                                            INSIDE           OWNER                                   OCCUPIED AREA:                          SQ FT

BLD #    CITY:                                                STATE:                        OUTSIDE          TENANT               # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

         COUNTY:                                              ZIP:                                                                                   TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                           ANY AREA LEASED TO OTHERS? Y / N

LOC #    STREET                                                                         CITY LIMITS     INTEREST                  # FULL TIME EMPL   ANNUAL REVENUES: $

                                                                                            INSIDE           OWNER                                   OCCUPIED AREA:                          SQ FT

BLD #    CITY:                                                STATE:                        OUTSIDE          TENANT               # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

         COUNTY:                                              ZIP:                                                                                   TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                           ANY AREA LEASED TO OTHERS? Y / N

LOC #    STREET                                                                         CITY LIMITS     INTEREST                  # FULL TIME EMPL   ANNUAL REVENUES: $

                                                                                            INSIDE           OWNER                                   OCCUPIED AREA:                          SQ FT

BLD #    CITY:                                                STATE:                        OUTSIDE          TENANT               # PART TIME EMPL   OPEN TO PUBLIC AREA:                    SQ FT

         COUNTY:                                              ZIP:                                                                                   TOTAL BUILDING AREA:                    SQ FT

DESCRIPTION OF OPERATIONS:                                                                                                                           ANY AREA LEASED TO OTHERS? Y / N

NATURE OF BUSINESS
                                                                                                                                                                          DATE BUSINESS
     APARTMENTS                    CONTRACTOR              MANUFACTURING                  RESTAURANT               SERVICE                                                STARTED (MM/DD/YYYY)
     CONDOMINIUMS                  INSTITUTIONAL           OFFICE                         RETAIL                   WHOLESALE
DESCRIPTION OF PRIMARY OPERATIONS

Condominium Association




                                                                              INSTALLATION, SERVICE OR REPAIR WORK                       OFF PREMISES INSTALLATION, SERVICE OR REPAIR WORK

RETAIL STORES OR SERVICE OPERATIONS % OF TOTAL SALES:                                                   %                                                                  %

DESCRIPTION OF OPERATIONS OF OTHER NAMED INSUREDS




ADDITIONAL INTEREST (Not all fields apply to all scenarios - provide only the necessary data) Attach ACORD 45 for more Additional Interests
INTEREST                                    NAME AND ADDRESS         RANK:          EVIDENCE:           CERTIFICATE          POLICY         SEND BILL              INTEREST IN ITEM NUMBER
    ADDITIONAL                LIENHOLDER                                                                                                                LOCATION:                BUILDING:
    INSURED
    BREACH OF                 LOSS PAYEE                                                                                                                VEHICLE:                 BOAT:
    WARRANTY
    CO-OWNER                  MORTGAGEE                                                                                                                 AIRPORT:                 AIRCRAFT:
     EMPLOYEE                 OWNER                                                                                                                     ITEM                     ITEM:
     AS LESSOR                                                                                                                                          CLASS:
     LEASEBACK                REGISTRANT                                                                                                                ITEM DESCRIPTION
     OWNER
     LENDER'S
                              TRUSTEE       REFERENCE / LOAN #:                                    INTEREST END DATE:
     LOSS PAYABLE
                                            LIEN AMOUNT:                                           PHONE (A/C, No, Ext):                                FAX (A/C, No):

REASON FOR INTEREST:                                                                               E-MAIL ADDRESS:

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                                                                                                  AGENCY CUSTOMER ID: 00199161
GENERAL INFORMATION
EXPLAIN ALL "YES" RESPONSES                                                                                                                                                      Y/N

1a. IS THE APPLICANT A SUBSIDIARY OF ANOTHER ENTITY ?                                                                                                                            N
       PARENT COMPANY NAME                                                                                          RELATIONSHIP DESCRIPTION                          % OWNED



1b. DOES THE APPLICANT HAVE ANY SUBSIDIARIES?                                                                                                                                    N
       SUBSIDIARY COMPANY NAME                                                                                      RELATIONSHIP DESCRIPTION                          % OWNED



2.   IS A FORMAL SAFETY PROGRAM IN OPERATION?                                                                                                                                    Y
           SAFETY MANUAL              SAFETY POSITION              MONTHLY MEETINGS                OSHA

3.   ANY EXPOSURE TO FLAMMABLES, EXPLOSIVES, CHEMICALS?                                                                                                                          N




4.   ANY OTHER INSURANCE WITH THIS COMPANY? (List policy numbers)

       LINE OF BUSINESS                  POLICY NUMBER                                       LINE OF BUSINESS                       POLICY NUMBER




5.   ANY POLICY OR COVERAGE DECLINED, CANCELLED OR NON-RENEWED DURING THE PRIOR THREE (3) YEARS FOR ANY PREMISES OR                                                              Y
     OPERATIONS? (Missouri Applicants - Do not answer this question)
           NON-PAYMENT               AGENT NO LONGER REPRESENTS CARRIER                              Property with                   due to age of building
           NON-RENEWAL               UNDERWRITING                 CONDITION CORRECTED (Describe):

6.   ANY PAST LOSSES OR CLAIMS RELATING TO SEXUAL ABUSE OR MOLESTATION ALLEGATIONS, DISCRIMINATION OR NEGLIGENT HIRING?                                                          N




7.   DURING THE LAST FIVE YEARS (TEN IN RI), HAS ANY APPLICANT BEEN INDICTED FOR OR CONVICTED OF ANY DEGREE OF THE CRIME OF FRAUD,
     BRIBERY, ARSON OR ANY OTHER ARSON-RELATED CRIME IN CONNECTION WITH THIS OR ANY OTHER PROPERTY?                                                                              N
     (In RI, this question must be answered by any applicant for property insurance. Failure to disclose the existence of an arson conviction is a misdemeanor punishable
     by a sentence of up to one year of imprisonment).




8.   ANY UNCORRECTED FIRE AND/OR SAFETY CODE VIOLATIONS?                                                                                                                         N
       OCCUR DATE      EXPLANATION                                                                            RESOLUTION                                          RESOLVE DATE




9.   HAS APPLICANT HAD A FORECLOSURE, REPOSSESSION, BANKRUPTCY OR FILED FOR BANKRUPTCY DURING THE LAST FIVE (5) YEARS?                                                           N
       OCCUR DATE      EXPLANATION                                                                            RESOLUTION                                          RESOLVE DATE




10. HAS APPLICANT HAD A JUDGEMENT OR LIEN DURING THE LAST FIVE (5) YEARS?                                                                                                        N
       OCCUR DATE      EXPLANATION                                                                            RESOLUTION                                          RESOLVE DATE




11. HAS BUSINESS BEEN PLACED IN A TRUST?               NAME OF TRUST:                                                                                                            N
12. ANY FOREIGN OPERATIONS, FOREIGN PRODUCTS DISTRIBUTED IN USA, OR US PRODUCTS SOLD / DISTRIBUTED IN FOREIGN COUNTRIES?                                                         N
    (If "YES", attach ACORD 815 for Liability Exposure and/or ACORD 816 for Property Exposure)
13. DOES APPLICANT HAVE OTHER BUSINESS VENTURES FOR WHICH COVERAGE IS NOT REQUESTED?                                                                                             N




14. DOES APPLICANT OWN / LEASE / OPERATE ANY DRONES? (If "YES", describe use)                                                                                                    N


15. DOES APPLICANT HIRE OTHERS TO OPERATE DRONES? (If "YES", describe use)                                                                                                       N


REMARKS / PROCESSING INSTRUCTIONS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)




PRIOR CARRIER INFORMATION
YEAR     CATEGORY                        GENERAL LIABILITY                          AUTOMOBILE                               PROPERTY                  OTHER:
         CARRIER

         POLICY NUMBER

2021     PREMIUM                $                                       $                                       $                                      $

         EFFECTIVE DATE                                                                                                     08/04/2021
         EXPIRATION DATE                                                                                                    06/20/2022
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                                                                                                    AGENCY CUSTOMER ID: 00199161
PRIOR CARRIER INFORMATION (continued)
YEAR   CATEGORY                          GENERAL LIABILITY                            AUTOMOBILE                                PROPERTY                   OTHER:
       CARRIER

       POLICY NUMBER

2022 PREMIUM                    $                                        $                                        $                                        $

       EFFECTIVE DATE                                                                                                  06/20/2022                              06/20/2022
       EXPIRATION DATE                                                                                                 06/20/2023                              06/20/2023
       CARRIER

       POLICY NUMBER

       PREMIUM                  $                                        $                                        $                                        $

       EFFECTIVE DATE

       EXPIRATION DATE

LOSS HISTORY                             Check if none         (Attach Loss Summary for Additional Loss Information)
ENTER ALL CLAIMS OR LOSSES (REGARDLESS OF FAULT AND WHETHER OR NOT INSURED) OR OCCURRENCES THAT MAY GIVE RISE TO CLAIMS
FOR THE LAST         YEARS                                                                                                                            TOTAL LOSSES: $
                                                                                                                                                                                 SUBRO-   CLAIM
   DATE OF                                                                                                                                                                       GATION   OPEN
                       LINE               TYPE / DESCRIPTION OF OCCURRENCE OR CLAIM                    DATE OF CLAIM            AMOUNT PAID             AMOUNT RESERVED
 OCCURRENCE                                                                                                                                                                       Y/N      Y/N




SIGNATURE
    Copy of the Notice of Information Practices (Privacy) has been given to the applicant. (Not required in all states, contact your agent or broker for your state's requirements.)

 PERSONAL INFORMATION ABOUT YOU, INCLUDING INFORMATION FROM A CREDIT OR OTHER INVESTIGATIVE REPORT, MAY BE COLLECTED FROM PERSONS
 OTHER THAN YOU IN CONNECTION WITH THIS APPLICATION FOR INSURANCE AND SUBSEQUENT AMENDMENTS AND RENEWALS. SUCH INFORMATION AS WELL AS
 OTHER PERSONAL AND PRIVILEGED INFORMATION COLLECTED BY US OR OUR AGENTS MAY IN CERTAIN CIRCUMSTANCES BE DISCLOSED TO THIRD PARTIES
 WITHOUT YOUR AUTHORIZATION. CREDIT SCORING INFORMATION MAY BE USED TO HELP DETERMINE EITHER YOUR ELIGIBILITY FOR INSURANCE OR THE
 PREMIUM YOU WILL BE CHARGED. WE MAY USE A THIRD PARTY IN CONNECTION WITH THE DEVELOPMENT OF YOUR SCORE. YOU MAY HAVE THE RIGHT TO
 REVIEW YOUR PERSONAL INFORMATION IN OUR FILES AND REQUEST CORRECTION OF ANY INACCURACIES. YOU MAY ALSO HAVE THE RIGHT TO REQUEST IN
 WRITING THAT WE CONSIDER EXTRAORDINARY LIFE CIRCUMSTANCES IN CONNECTION WITH THE DEVELOPMENT OF YOUR CREDIT SCORE. THESE RIGHTS MAY
 BE LIMITED IN SOME STATES. PLEASE CONTACT YOUR AGENT OR BROKER TO LEARN HOW THESE RIGHTS MAY APPLY IN YOUR STATE OR FOR INSTRUCTIONS ON
 HOW TO SUBMIT A REQUEST TO US FOR A MORE DETAILED DESCRIPTION OF YOUR RIGHTS AND OUR PRACTICES REGARDING PERSONAL INFORMATION.
 (Not applicable in AZ, CA, DE, KS, MA, MN, ND, NY, OR, VA, or WV. Specific ACORD 38s are available for applicants in these states.) (Applicant's Initials):

 Applicable in AL, AR, DC, LA, MD, NM, RI and WV: Any person who knowingly (or willfully)* presents a false or fraudulent claim for payment of a loss or
 benefit or knowingly (or willfully)* presents false information in an application for insurance is guilty of a crime and may be subject to fines and confinement in
 prison. *Applies in MD Only.
 Applicable in CO: It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for the purpose of
 defrauding or attempting to defraud the company. Penalties may include imprisonment, fines, denial of insurance and civil damages. Any insurance
 company or agent of an insurance company who knowingly provides false, incomplete, or misleading facts or information to a policyholder or claimant for the
 purpose of defrauding or attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall be
 reported to the Colorado Division of Insurance within the Department of Regulatory Agencies.
 Applicable in FL and OK: Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement of claim or an application
 containing any false, incomplete, or misleading information is guilty of a felony (of the third degree)*. *Applies in FL Only.
 Applicable in KS: Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or belief that it will be
 presented to or by an insurer, purported insurer, broker or any agent thereof, any written statement as part of, or in support of, an application for the issuance
 of, or the rating of an insurance policy for personal or commercial insurance, or a claim for payment or other benefit pursuant to an insurance policy for
 commercial or personal insurance which such person knows to contain materially false information concerning any fact material thereto; or conceals, for the
 purpose of misleading, information concerning any fact material thereto commits a fraudulent insurance act.
 Applicable in KY, NY, OH and PA: Any person who knowingly and with intent to defraud any insurance company or other person files an application for
 insurance or statement of claim containing any materially false information or conceals for the purpose of misleading, information concerning any fact material
 thereto commits a fraudulent insurance act, which is a crime and subjects such person to criminal and civil penalties (not to exceed five thousand dollars and
 the stated value of the claim for each such violation)*. *Applies in NY Only.
 Applicable in ME, TN, VA and WA: It is a crime to knowingly provide false, incomplete or misleading information to an insurance company for the purpose
 of defrauding the company. Penalties (may)* include imprisonment, fines and denial of insurance benefits. *Applies in ME Only.
 Applicable in NJ: Any person who includes any false or misleading information on an application for an insurance policy is subject to criminal and civil
 penalties.
 Applicable in OR: Any person who knowingly and with intent to defraud or solicit another to defraud the insurer by submitting an application containing a
 false statement as to any material fact may be violating state law.
 Applicable in PR: Any person who knowingly and with the intention of defrauding presents false information in an insurance application, or presents, helps,
 or causes the presentation of a fraudulent claim for the payment of a loss or any other benefit, or presents more than one claim for the same damage or loss,
 shall incur a felony and, upon conviction, shall be sanctioned for each violation by a fine of not less than five thousand dollars ($5,000) and not more than ten
 thousand dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both penalties. Should aggravating circumstances [be] present, the penalty
 thus established may be increased to a maximum of five (5) years, if extenuating circumstances are present, it may be reduced to a minimum of two (2)
 years.
 THE UNDERSIGNED IS AN AUTHORIZED REPRESENTATIVE OF THE APPLICANT AND REPRESENTS THAT REASONABLE INQUIRY HAS BEEN MADE TO OBTAIN THE
 ANSWERS TO QUESTIONS ON THIS APPLICATION. HE/SHE REPRESENTS THAT THE ANSWERS ARE TRUE, CORRECT AND COMPLETE TO THE BEST OF HIS/HER
 KNOWLEDGE.
PRODUCER'S SIGNATURE                                                                                                                                               STATE PRODUCER LICENSE NO
                                                                                 PRODUCER'S NAME (Please Print)                                                    (Required in Florida)
                                                                                 Kamahne Jeffrey
APPLICANT'S SIGNATURE                                                                                                                     DATE                      NATIONAL PRODUCER NUMBER



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                                                                     AGENCY CUSTOMER ID: 00199161
                                                                                      LOC #:

                                         ADDITIONAL REMARKS SCHEDULE                                                                 Page   1   of 1

AGENCY                                                                     NAMED INSURED
Relation Insurance, Inc.                                                   The Landmark Condominium Association, Inc.
POLICY NUMBER



CARRIER                                                        NAIC CODE
                                                                           EFFECTIVE DATE:                              06/20/2023
ADDITIONAL REMARKS
THIS ADDITIONAL REMARKS FORM IS A SCHEDULE TO ACORD FORM,
FORM NUMBER:          125       FORM TITLE: Commercial Application
Commercial Property
Water Damage Deductible -




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                                                                                               AGENCY CUSTOMER ID: 00199161

                                                                                                                                                                                     DATE (MM/DD/YYYY)
                                                                            PROPERTY SECTION                                                                                            02/08/2023
AGENCY NAME                                                                                               CARRIER                                                                             NAIC CODE

Relation Insurance, Inc.
POLICY NUMBER                                                                       EFFECTIVE DATE        NAMED INSURED(S)
                                                                                      06/20/2023          The Landmark Condominium Association, Inc.
BLANKET SUMMARY
BLKT #            AMOUNT                                           TYPE                                   BLKT #           AMOUNT                                         TYPE




                                          PREMISES #:        1       STREET ADDRESS:        c/o Management Office 215 Piedmont Avenue, NE
PREMISES INFORMATION                      BUILDING #:        1       BLDG DESCRIPTION:

      SUBJECT OF INSURANCE                        AMOUNT                    VALU-         CAUSES OF LOSS       INFLATION      DED          DED      BLKT
                                                                    COINS % ATION                               GUARD %                               #           FORMS AND CONDITIONS TO APPLY
                                                                                                                                          TYPE
Building                                  32,230,924                             RC       Special (Including
                                                                                          theft)

Business Personal Property                51,000                                 RC       Special (Including
                                                                                          theft)

BI w/ Extra Expense                       50,000                                          Special (Including                                  HR
                                                                                          theft)

Equipment Breakdown                       32,331,924                             RC       Special (Including
                                                                                          theft)

Earthquake                                5,000,000                              RC       Earthquake -
                                                                                          Building

ADDITIONAL INFORMATION                  BUSINESS INCOME / EXTRA EXPENSE - Attach ACORD 810                               VALUE REPORTING INFORMATION - Attach ACORD 811

ADDITIONAL COVERAGES, OPTIONS, RESTRICTIONS, ENDORSEMENTS AND RATING INFORMATION
SPOILAGE       DESCRIPTION OF PROPERTY COVERED                                                                  LIMIT                                        OPTIONS
                                                                                                                                          REFRIG MAINT
COVERAGE
                                                                                                                                           AGREEMENT
  (Y / N)                                                                                                       $                                                 BREAKDOWN OR CONTAMINATION
                                                                                                                                             (Y / N)
                                                                                                                                                                                      SELLING
                                                                                                                DEDUCTIBLE                                        POWER OUTAGE
                                                                                                                                                                                      PRICE
                                                                                                                $
SINKHOLE COVERAGE (Required in Florida)                                                       ACCEPT COVERAGE                 REJECT COVERAGE              LIMIT: $

MINE SUBSIDENCE COVERAGE (Required in IL, IN, KY and WV)                                      ACCEPT COVERAGE                 REJECT COVERAGE              LIMIT: $

    PROPERTY HAS BEEN DESIGNATED AN HISTORICAL LANDMARK                                                                                                    # OF OPEN SIDES ON STRUCTURE:




CONSTRUCTION TYPE                                  DISTANCE TO                     FIRE DISTRICT                CODE NUMBER         PROT CL    # STORIES   # BASM'TS      YR BUILT     TOTAL AREA
                                                HYDRANT   FIRE STAT
                                                        FT          MI                                                                1            22                      1963        128,923
BUILDING IMPROVEMENTS                                            BLDG CODE       TAX CODE       ROOF TYPE                  OTHER OCCUPANCIES
                                                                   GRADE
    WIRING, YR:    2021           PLUMBING, YR: 2021
                                                                                                                              HEATING SOURCE INCL WOODBURNING                    DATE
    ROOFING, YR: 2021                              2021          WIND CLASS
                                  HEATING, YR:                                              SEMI- RESISTIVE                   STOVE OR FIREPLACE INSERT                          INSTALLED:
    OTHER:                                YR:                        RESISTIVE                                             MANUFACTURER:

PRIMARY HEAT                                                                                              SECONDARY HEAT

    BOILER                 SOLID FUEL                                                                          BOILER               SOLID FUEL

    IF BOILER, IS INSURANCE PLACED ELSEWHERE?                     Y/N                                          IF BOILER, IS INSURANCE PLACED ELSEWHERE?                Y/N
RIGHT EXPOSURE & DISTANCE                           LEFT EXPOSURE & DISTANCE                              FRONT EXPOSURE & DISTANCE                         REAR EXPOSURE & DISTANCE



BURGLAR ALARM TYPE                                                        CERTIFICATE #                                                                 EXPIRATION DATE            CENTRAL           LOCAL
                                                                                                                                                                                   STATION           GONG
                                                                                                                                                                                   WITH KEYS
BURGLAR ALARM INSTALLED AND SERVICED BY                                                                   EXTENT                      GRADE             # GUARDS / WATCHMEN             CLOCK HOURLY


PREMISES FIRE PROTECTION (Sprinklers, Standpipes, CO2 / Chemical Systems)                        % SPRNK       FIRE ALARM MANUFACTURER                                                  CENTRAL STATION

                                                                                                    100                                                                                 LOCAL GONG

ADDITIONAL INTEREST                       ACORD 45 attached for additional names
INTEREST                           NAME AND ADDRESS          RANK:              EVIDENCE:          CERTIFICATE                                                         INTEREST IN ITEM NUMBER
    LENDER'S LOSS PAYABLE                                                                                                                                   LOCATION:                 BUILDING:
    LOSS PAYEE                                                                                                                                              ITEM
                                                                                                                                                            CLASS:                    ITEM:
    MORTGAGEE                                                                                                                                               ITEM DESCRIPTION



                                   REFERENCE / LOAN #:

ACORD 140 (2016/03)                                                                       Attach to ACORD 125                  © 1985-2015 ACORD CORPORATION. All rights reserved.
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                                                                                       AGENCY CUSTOMER ID:               00199161

ADDITIONAL                             PREMISES #:              STREET ADDRESS:

PREMISES INFORMATION                   BUILDING #:              BLDG DESCRIPTION:

      SUBJECT OF INSURANCE                     AMOUNT          COINS % VALU-       CAUSES OF LOSS      INFLATION      DED       DED     BLKT
                                                                                                                                                       FORMS AND CONDITIONS TO APPLY
                                                                       ATION                            GUARD %                TYPE       #




ADDITIONAL INFORMATION               BUSINESS INCOME / EXTRA EXPENSE - Attach ACORD 810                         VALUE REPORTING INFORMATION - Attach ACORD 811

ADDITIONAL COVERAGES, OPTIONS, RESTRICTIONS, ENDORSEMENTS AND RATING INFORMATION
SPOILAGE       DESCRIPTION OF PROPERTY COVERED                                                         LIMIT                   REFRIG MAINT       OPTIONS
COVERAGE                                                                                                                        AGREEMENT
                                                                                                       $                                               BREAKDOWN OR CONTAMINATION
  (Y / N)                                                                                                                         (Y / N)
                                                                                                                                                                           SELLING
                                                                                                       DEDUCTIBLE                                      POWER OUTAGE
                                                                                                                                                                           PRICE
                                                                                                       $
SINKHOLE COVERAGE (Required in Florida)                                                ACCEPT COVERAGE               REJECT COVERAGE            LIMIT: $

MINE SUBSIDENCE COVERAGE (Required in IL, IN, KY and WV)                               ACCEPT COVERAGE               REJECT COVERAGE            LIMIT: $

    PROPERTY HAS BEEN DESIGNATED AN HISTORICAL LANDMARK                                                                                         # OF OPEN SIDES ON STRUCTURE:




CONSTRUCTION TYPE                               DISTANCE TO                   FIRE DISTRICT            CODE NUMBER       PROT CL    # STORIES   # BASM'TS     YR BUILT    TOTAL AREA
                                             HYDRANT   FIRE STAT
                                                      FT       MI
BUILDING IMPROVEMENTS                                       BLDG CODE       TAX CODE    ROOF TYPE                  OTHER OCCUPANCIES
                                                              GRADE
    WIRING, YR:                 PLUMBING, YR:
                                                            WIND CLASS                                                HEATING SOURCE INCL WOODBURNING              DATE
    ROOFING, YR:                HEATING, YR:                                        SEMI- RESISTIVE                   STOVE OR FIREPLACE INSERT                    INSTALLED:
    OTHER:                             YR:                      RESISTIVE                                          MANUFACTURER:

PRIMARY HEAT                                                                                      SECONDARY HEAT

    BOILER              SOLID FUEL                                                                    BOILER             SOLID FUEL

    IF BOILER, IS INSURANCE PLACED ELSEWHERE?                Y/N                                      IF BOILER, IS INSURANCE PLACED ELSEWHERE?              Y/N
RIGHT EXPOSURE & DISTANCE                          LEFT EXPOSURE & DISTANCE                       FRONT EXPOSURE & DISTANCE                      REAR EXPOSURE & DISTANCE



BURGLAR ALARM TYPE                                                 CERTIFICATE #                                                          EXPIRATION DATE            CENTRAL           LOCAL
                                                                                                                                                                     STATION           GONG
                                                                                                                                                                     WITH KEYS
BURGLAR ALARM INSTALLED AND SERVICED BY                                                           EXTENT                    GRADE         # GUARDS / WATCHMEN              CLOCK HOURLY


PREMISES FIRE PROTECTION (Sprinklers, Standpipes, CO2 / Chemical Systems)                % SPRNK      FIRE ALARM MANUFACTURER                                              CENTRAL STATION

                                                                                                                                                                           LOCAL GONG

ADDITIONAL INTEREST                    ACORD 45 attached for additional names
INTEREST                          NAME AND ADDRESS         RANK:         EVIDENCE:            CERTIFICATE                                                   INTEREST IN ITEM NUMBER
    LENDER'S LOSS PAYABLE                                                                                                                        LOCATION:               BUILDING:
    LOSS PAYEE                                                                                                                                   ITEM
                                                                                                                                                 CLASS:                  ITEM:
    MORTGAGEE                                                                                                                                    ITEM DESCRIPTION



                                  REFERENCE / LOAN #:

REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
Water Damage Deductible - $10,000



                                               5




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                                                                              AGENCY CUSTOMER ID:            00199161
SIGNATURE

 Applicable in AL, AR, DC, LA, MD, NM, RI and WV
 Any person who knowingly (or willfully)* presents a false or fraudulent claim for payment of a loss or benefit or knowingly (or willfully)* presents false
 information in an application for insurance is guilty of a crime and may be subject to fines and confinement in prison. *Applies in MD Only.

 Applicable in CO
 It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance company for the purpose of defrauding or attempting to
 defraud the company. Penalties may include imprisonment, fines, denial of insurance and civil damages. Any insurance company or agent of an insurance
 company who knowingly provides false, incomplete, or misleading facts or information to a policyholder or claimant for the purpose of defrauding or
 attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall be reported to the Colorado
 Division of Insurance within the Department of Regulatory Agencies.


 Applicable in FL and OK
 Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement of claim or an application containing any false,
 incomplete, or misleading information is guilty of a felony (of the third degree)*. *Applies in FL Only.

 Applicable in KS
 Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or belief that it will be presented to or by
 an insurer, purported insurer, broker or any agent thereof, any written statement as part of, or in support of, an application for the issuance of, or the rating of
 an insurance policy for personal or commercial insurance, or a claim for payment or other benefit pursuant to an insurance policy for commercial or personal
 insurance which such person knows to contain materially false information concerning any fact material thereto; or conceals, for the purpose of misleading,
 information concerning any fact material thereto commits a fraudulent insurance act.

 Applicable in KY, NY, OH and PA
 Any person who knowingly and with intent to defraud any insurance company or other person files an application for insurance or statement of claim
 containing any materially false information or conceals for the purpose of misleading, information concerning any fact material thereto commits a fraudulent
 insurance act, which is a crime and subjects such person to criminal and civil penalties* (not to exceed five thousand dollars and the stated value of the claim
 for each such violation)*. *Applies in NY Only.

 Applicable in ME, TN, VA and WA
 It is a crime to knowingly provide false, incomplete or misleading information to an insurance company for the purpose of defrauding the company. Penalties
 (may)* include imprisonment, fines and denial of insurance benefits. *Applies in ME Only.

 Applicable in NJ
 Any person who includes any false or misleading information on an application for an insurance policy is subject to criminal and civil penalties.

 Applicable in OR
 Any person who knowingly and with intent to defraud or solicit another to defraud the insurer by submitting an application containing a false statement as to
 any material fact may be violating state law.

 Applicable in PR
 Any person who knowingly and with the intention of defrauding presents false information in an insurance application, or presents, helps, or causes the
 presentation of a fraudulent claim for the payment of a loss or any other benefit, or presents more than one claim for the same damage or loss, shall incur a
 felony and, upon conviction, shall be sanctioned for each violation by a fine of not less than five thousand dollars ($5,000) and not more than ten thousand
 dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both penalties. Should aggravating circumstances [be] present, the penalty thus
 established may be increased to a maximum of five (5) years, if extenuating circumstances are present, it may be reduced to a minimum of two (2) years.




 THE UNDERSIGNED IS AN AUTHORIZED REPRESENTATIVE OF THE APPLICANT AND REPRESENTS THAT REASONABLE INQUIRY HAS BEEN MADE TO OBTAIN THE
 ANSWERS TO QUESTIONS ON THIS APPLICATION. HE/SHE REPRESENTS THAT THE ANSWERS ARE TRUE, CORRECT AND COMPLETE TO THE BEST OF HIS/HER
 KNOWLEDGE.
PRODUCER'S SIGNATURE                                                                                                                            STATE PRODUCER LICENSE NO
                                                                        PRODUCER'S NAME (Please Print)                                          (Required in Florida)
                                                                        Kamahne Jeffrey
APPLICANT'S SIGNATURE                                                                                                     DATE                   NATIONAL PRODUCER NUMBER



ACORD 140 (2016/03)                                                             Page 3 of 3
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                     PROPERTY SUBJECTS OF INSURANCE AND COVERAGES
Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate
1       1        Flood                       FL         Flood
Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium
                           5,000,000

Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2              Deductible Amount        Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2              Deductible Amount        Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2              Deductible Amount        Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2              Deductible Amount        Deductible Type     Premium



Loc #   Bldg #   Subject                     Cov Code   Cov Description             Form No.       Edition Date    Rate


Option Codes               Limit 1     Limit 2                  Deductible Amount    Deductible Type     Premium



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                                                                                                         AGENCY CUSTOMER ID: 00199161

                                                                                                                                                                                   DATE (MM/DD/YYYY)
                                              COMMERCIAL GENERAL LIABILITY SECTION                                                                                                    01/31/2023
AGENCY                                                                                                 CARRIER                                                                             NAIC CODE

Relation Insurance, Inc.
POLICY NUMBER                                                                       EFFECTIVE DATE     APPLICANT / FIRST NAMED INSURED
                                                                                     06/20/2023        The Landmark Condominium Association

 IMPORTANT - If CLAIMS MADE is checked in the COVERAGE / LIMITS section below, this is an application for a claims-made policy.
 Read all provisions of the policy carefully.

COVERAGES                                                                   LIMITS
    COMMERCIAL GENERAL LIABILITY                                            GENERAL AGGREGATE                                             $   2,000,000                             PREMIUMS
                                                                            LIMIT APPLIES PER:                                                                            PREMISES/OPERATIONS
         CLAIMS MADE                        OCCURRENCE                                                      POLICY           LOCATION
    OWNER'S & CONTRACTOR'S PROTECTIVE                                                                       PROJECT          OTHER:
                                                                            PRODUCTS & COMPLETED OPERATIONS AGGREGATE                     $   2,000,000                   PRODUCTS

DEDUCTIBLES                                                                 PERSONAL & ADVERTISING INJURY                                 $ 1,000,000

    PROPERTY DAMAGE            $                                            EACH OCCURRENCE                                               $   1,000,000                   OTHER
                                                             PER
    BODILY INJURY              $                             CLAIM          DAMAGE TO RENTED PREMISES (each occurrence)                   $ 100,000
                                                             PER
                               $                             OCCURRENCE     MEDICAL EXPENSE (Any one person)                              $   5,000                       TOTAL

                                                                            EMPLOYEE BENEFITS                                             $

                                                                                                                                          $
OTHER COVERAGES, RESTRICTIONS AND/OR ENDORSEMENTS (For hired/non-owned auto coverages attach the applicable state Business Auto Section, ACORD 137)




APPLICABLE ONLY IN WISCONSIN: IF NON-OWNED ONLY AUTO COVERAGE IS TO BE PROVIDED UNDER THE POLICY:

1. UM / UIM COVERAGE               IS           IS NOT AVAILABLE.                   2. MEDICAL PAYMENTS COVERAGE                   IS           IS NOT AVAILABLE.

SCHEDULE OF HAZARDS (ACORD 211, Schedule of Hazards, may be attached if more space is required)
                           CLASS               PREMIUM                                                                             RATE                                          PREMIUM
 LOC #      HAZ #                                                       EXPOSURE                     TERR
                           CODE                 BASIS                                                                PREM / OPS               PRODUCTS              PREM / OPS             PRODUCTS

   1                   62000                 Area              5,000
CLASSIFICATION DESCRIPTION

Condo - Commercial - Bank/Merc/Mfg


                           CLASS               PREMIUM                                                                             RATE                                          PREMIUM
 LOC #      HAZ #                                                       EXPOSURE                     TERR
                           CODE                 BASIS                                                                PREM / OPS               PRODUCTS              PREM / OPS             PRODUCTS

   1                   62003                 Units             205
CLASSIFICATION DESCRIPTION

Condo-Residential


                           CLASS               PREMIUM                                                                             RATE                                          PREMIUM
 LOC #      HAZ #                                                       EXPOSURE                     TERR
                           CODE                 BASIS                                                                PREM / OPS               PRODUCTS              PREM / OPS             PRODUCTS

   1                   41668                 Aare              400
CLASSIFICATION DESCRIPTION

Club - Civic - Bldg Own/Lease - NFP


RATING AND PREMIUM BASIS                             (P) PAYROLL - PER $1,000/PAY                      (C) TOTAL COST - PER $1,000/COST                   (U) UNIT - PER UNIT
(S) GROSS SALES - PER $1,000/SALES                   (A) AREA - PER 1,000/SQ FT                        (M) ADMISSIONS - PER 1,000/ADM                     (T) OTHER

CLAIMS MADE (Explain all "Yes" responses)
EXPLAIN ALL "YES" RESPONSES                                                                                                                                                                            Y/N

1. PROPOSED RETROACTIVE DATE:
2. ENTRY DATE INTO UNINTERRUPTED CLAIMS MADE COVERAGE:
3. HAS ANY PRODUCT, WORK, ACCIDENT, OR LOCATION BEEN EXCLUDED, UNINSURED OR SELF-INSURED FROM ANY PREVIOUS COVERAGE?




4. WAS TAIL COVERAGE PURCHASED UNDER ANY PREVIOUS POLICY?




EMPLOYEE BENEFITS LIABILITY
1. DEDUCTIBLE PER CLAIM:                $                                                        3. NUMBER OF EMPLOYEES COVERED BY EMPLOYEE BENEFITS PLANS:
2. NUMBER OF EMPLOYEES:                                                                          4. RETROACTIVE DATE:
ACORD 126 (2016/09)                                                                     Attach to ACORD 125                       © 1993-2016 ACORD CORPORATION. All rights reserved.
                                                               The ACORD name and logo are registered marks of ACORD
                          Case 1:25-cv-00414-SEG                               Document 1-6               Filed 01/30/25               Page 12 of 23
                                                                                                   AGENCY CUSTOMER ID: 00199161
CONTRACTORS
EXPLAIN ALL "YES" RESPONSES (For all past or present operations)                                                                                                        Y/N

1. DOES APPLICANT DRAW PLANS, DESIGNS, OR SPECIFICATIONS FOR OTHERS?




2. DO ANY OPERATIONS INCLUDE BLASTING OR UTILIZE OR STORE EXPLOSIVE MATERIAL?




3. DO ANY OPERATIONS INCLUDE EXCAVATION, TUNNELING, UNDERGROUND WORK OR EARTH MOVING?




4. DO YOUR SUBCONTRACTORS CARRY COVERAGES OR LIMITS LESS THAN YOURS?




5. ARE SUBCONTRACTORS ALLOWED TO WORK WITHOUT PROVIDING YOU WITH A CERTIFICATE OF INSURANCE?




6. DOES APPLICANT LEASE EQUIPMENT TO OTHERS WITH OR WITHOUT OPERATORS?




DESCRIBE THE TYPE OF WORK SUBCONTRACTED                            $ PAID TO SUB-                      % OF WORK                  # FULL-              # PART-
                                                                   CONTRACTORS:                        SUBCONTRACTED:             TIME STAFF:          TIME STAFF:




 PRODUCTS / COMPLETED OPERATIONS
                                                                                         TIME IN   EXPECTED
           PRODUCTS                 ANNUAL GROSS SALES                # OF UNITS         MARKET      LIFE               INTENDED USE             PRINCIPAL COMPONENTS




EXPLAIN ALL "YES" RESPONSES (For all past or present products or operations)   PLEASE ATTACH LITERATURE, BROCHURES, LABELS, WARNINGS, ETC.                              Y/N

1. DOES APPLICANT INSTALL, SERVICE OR DEMONSTRATE PRODUCTS?




2. FOREIGN PRODUCTS SOLD, DISTRIBUTED, USED AS COMPONENTS? (If "YES", attach ACORD 815)
3. RESEARCH AND DEVELOPMENT CONDUCTED OR NEW PRODUCTS PLANNED?




4. GUARANTEES, WARRANTIES, HOLD HARMLESS AGREEMENTS?




5. PRODUCTS RELATED TO AIRCRAFT/SPACE INDUSTRY?




6. PRODUCTS RECALLED, DISCONTINUED, CHANGED?




7. PRODUCTS OF OTHERS SOLD OR RE-PACKAGED UNDER APPLICANT LABEL?




8. PRODUCTS UNDER LABEL OF OTHERS?




9. VENDORS COVERAGE REQUIRED?




10. DOES ANY NAMED INSURED SELL TO OTHER NAMED INSUREDS?




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                                                                                                      AGENCY CUSTOMER ID: 00199161
ADDITIONAL INTEREST / CERTIFICATE RECIPIENT                                    ACORD 45 attached for additional names
INTEREST                           NAME AND ADDRESS       RANK:         EVIDENCE:               CERTIFICATE                                                  INTEREST IN ITEM NUMBER
     ADDITIONAL INSURED                                                                                                                           LOCATION:              BUILDING:
     EMPLOYEE AS LESSOR                                                                                                                           ITEM                   ITEM:
                                                                                                                                                  CLASS:
     LENDER'S LOSS PAYABLE                                                                                                                        ITEM DESCRIPTION

     LIENHOLDER

     LOSS PAYEE

     MORTGAGEE

                                   REFERENCE / LOAN #:

GENERAL INFORMATION
EXPLAIN ALL "YES" RESPONSES (For all past or present operations)                                                                                                                       Y/N

1.   ANY MEDICAL FACILITIES PROVIDED OR MEDICAL PROFESSIONALS EMPLOYED OR CONTRACTED?                                                                                                  N




2.   ANY EXPOSURE TO RADIOACTIVE/NUCLEAR MATERIALS?                                                                                                                                    N




3.   DO/HAVE PAST, PRESENT OR DISCONTINUED OPERATIONS INVOLVE(D) STORING, TREATING, DISCHARGING, APPLYING, DISPOSING, OR                                                               N
     TRANSPORTING OF HAZARDOUS MATERIAL? (e.g. landfills, wastes, fuel tanks, etc)




4.   ANY OPERATIONS SOLD, ACQUIRED, OR DISCONTINUED IN LAST FIVE (5) YEARS?                                                                                                            N




5.   DO YOU RENT OR LOAN EQUIPMENT TO OTHERS?                                                                                                                                          N
      EQUIPMENT                                                                                                         TYPE OF EQUIPMENT                INSTRUCTION GIVEN (Y/N)

                                                                                                                  SMALL TOOLS        LARGE EQUIPMENT

                                                                                                                  SMALL TOOLS        LARGE EQUIPMENT

6.   ANY WATERCRAFT, DOCKS, FLOATS OWNED, HIRED OR LEASED?                                                                                                                             N




7.   ANY PARKING FACILITIES OWNED/RENTED?                                                                                                                                              N




8.   IS A FEE CHARGED FOR PARKING?                                                                                                                                                     N




9.   RECREATION FACILITIES PROVIDED?                                                                                                                                                   N




10. ARE THERE ANY LODGING OPERATIONS INCLUDING APARTMENTS? (If "YES", answer the following):
        # APTS        TOTAL APT AREA         DESCRIBE OTHER LODGING OPERATIONS

                                   Sq. Ft.

11. IS THERE A SWIMMING POOL ON PREMISES? (Check all that apply)                                                                                                                       Y
           APPROVED FENCE            LIMITED ACCESS            DIVING BOARD             SLIDE          ABOVE GROUND             IN GROUND         LIFE GUARD

12. ARE SOCIAL EVENTS SPONSORED?                                                                                                                                                       N




13. ARE ATHLETIC TEAMS SPONSORED?                                                                                                                                                      N
      TYPE OF SPORT                       CONTACT                                                 TYPE OF SPORT                     CONTACT
                                                       AGE GROUP                                                                                 AGE GROUP
                                         SPORT (Y/N)                          13 - 18                                              SPORT (Y/N)                          13 - 18

                                                           12 & UNDER         OVER 18                                                               12 & UNDER          OVER 18

      EXTENT OF SPONSORSHIP:                                                                      EXTENT OF SPONSORSHIP:

14. ANY STRUCTURAL ALTERATIONS CONTEMPLATED?                                                                                                                                           N




15. ANY DEMOLITION EXPOSURE CONTEMPLATED?                                                                                                                                              N




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                                                                                               AGENCY CUSTOMER ID: 00199161
GENERAL INFORMATION (continued)
EXPLAIN ALL "YES" RESPONSES (For all past or present operations)                                                                                                       Y/N

16. HAS APPLICANT BEEN ACTIVE IN OR IS CURRENTLY ACTIVE IN JOINT VENTURES?                                                                                             N



17. DO YOU LEASE EMPLOYEES TO OR FROM OTHER EMPLOYERS?                                                                                                                 N
                                                                     WORKERS                                                                   WORKERS
                                                                   COMPENSATION                                                              COMPENSATION
      LEASE TO                                                                            LEASE FROM
                                                               COVERAGE CARRIED (Y/N)                                                    COVERAGE CARRIED (Y/N)




18. IS THERE A LABOR INTERCHANGE WITH ANY OTHER BUSINESS OR SUBSIDIARIES?                                                                                              N




19. ARE DAY CARE FACILITIES OPERATED OR CONTROLLED?                                                                                                                    N




20. HAVE ANY CRIMES OCCURRED OR BEEN ATTEMPTED ON YOUR PREMISES WITHIN THE LAST THREE (3) YEARS?                                                                       N




21. IS THERE A FORMAL, WRITTEN SAFETY AND SECURITY POLICY IN EFFECT?                                                                                                   N




22. DOES THE BUSINESSES' PROMOTIONAL LITERATURE MAKE ANY REPRESENTATIONS ABOUT THE SAFETY OR SECURITY OF THE PREMISES?                                                 N




REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)


SIGNATURE
 Applicable in AL, AR, DC, LA, MD, NM, RI and WV: Any person who knowingly (or willfully)* presents a false or fraudulent claim for payment of a loss or
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 purpose of defrauding or attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds shall be
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 Applicable in KS: Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with knowledge or belief that it will be
 presented to or by an insurer, purported insurer, broker or any agent thereof, any written, electronic, electronic impulse, facsimile, magnetic, oral, or
 telephonic communication or statement as part of, or in support of, an application for the issuance of, or the rating of an insurance policy for personal or
 commercial insurance, or a claim for payment or other benefit pursuant to an insurance policy for commercial or personal insurance which such person knows
 to contain materially false information concerning any fact material thereto; or conceals, for the purpose of misleading, information concerning any fact
 material thereto commits a fraudulent insurance act.
 Applicable in KY, NY, OH and PA: Any person who knowingly and with intent to defraud any insurance company or other person files an application for
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 thereto commits a fraudulent insurance act, which is a crime and subjects such person to criminal and civil penalties (not to exceed five thousand dollars and
 the stated value of the claim for each such violation)*. *Applies in NY Only.
 Applicable in ME, TN, VA and WA: It is a crime to knowingly provide false, incomplete or misleading information to an insurance company for the purpose
 of defrauding the company. Penalties (may)* include imprisonment, fines and denial of insurance benefits. *Applies in ME Only.
 Applicable in NJ: Any person who includes any false or misleading information on an application for an insurance policy is subject to criminal and civil
 penalties.
 Applicable in OR: Any person who knowingly and with intent to defraud or solicit another to defraud the insurer by submitting an application containing a
 false statement as to any material fact may be violating state law.
 Applicable in PR: Any person who knowingly and with the intention of defrauding presents false information in an insurance application, or presents, helps,
 or causes the presentation of a fraudulent claim for the payment of a loss or any other benefit, or presents more than one claim for the same damage or loss,
 shall incur a felony and, upon conviction, shall be sanctioned for each violation by a fine of not less than five thousand dollars ($5,000) and not more than ten
 thousand dollars ($10,000), or a fixed term of imprisonment for three (3) years, or both penalties. Should aggravating circumstances [be] present, the penalty
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 THE UNDERSIGNED IS AN AUTHORIZED REPRESENTATIVE OF THE APPLICANT AND REPRESENTS THAT REASONABLE INQUIRY HAS BEEN MADE TO OBTAIN THE
 ANSWERS TO QUESTIONS ON THIS APPLICATION. HE/SHE REPRESENTS THAT THE ANSWERS ARE TRUE, CORRECT AND COMPLETE TO THE BEST OF HIS/HER
 KNOWLEDGE.
PRODUCER'S SIGNATURE                                                                                                                            STATE PRODUCER LICENSE NO
                                                                             PRODUCER'S NAME (Please Print)                                     (Required in Florida)
                                                                             Kamahne Jeffrey
APPLICANT'S SIGNATURE                                                                                                     DATE                  NATIONAL PRODUCER NUMBER



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                                                                                                  AGENCY CUSTOMER ID: 00199161

                                                                                                                                                                    DATE (MM/DD/YYYY)
                                                                SCHEDULE OF HAZARDS                                                                                    01/31/2023
AGENCY                                                                                          CARRIER                                                                       NAIC CODE

Relation Insurance, Inc.
POLICY NUMBER                                                                EFFECTIVE DATE     APPLICANT / FIRST NAMED INSURED
                                                                              06/20/2023        The Landmark Condominium Association
SCHEDULE OF HAZARDS
                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS

   1                  48925          Other              1
CLASSIFICATION DESCRIPTION

Pool


                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS

    1                 44313           Other                 1
CLASSIFICATION DESCRIPTION




                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS



CLASSIFICATION DESCRIPTION




                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS



CLASSIFICATION DESCRIPTION




                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS



CLASSIFICATION DESCRIPTION




                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS



CLASSIFICATION DESCRIPTION




                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS



CLASSIFICATION DESCRIPTION




                           CLASS       PREMIUM                                                                          RATE                                        PREMIUM
 LOC #      HAZ #                                                EXPOSURE                     TERR
                           CODE         BASIS                                                             PREM / OPS               PRODUCTS          PREM / OPS               PRODUCTS



CLASSIFICATION DESCRIPTION




RATING AND PREMIUM BASIS                      (P) PAYROLL - PER $1,000/PAY                      (C) TOTAL COST - PER $1,000/COST              (U) UNIT - PER UNIT

(S) GROSS SALES - PER $1,000/SALES            (A) AREA - PER 1,000/SQ FT                        (M) ADMISSIONS - PER 1,000/ADM                (T) OTHER

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                                                                    Attach to ACORD 126 and/or ACORD 160
                                                        The ACORD name and logo are registered marks of ACORD
                           Case 1:25-cv-00414-SEG                                 Document 1-6                       Filed 01/30/25               Page 16 of 23
                                                                                                            AGENCY CUSTOMER ID:              00199161

                                                            GEORGIA COMMERCIAL AUTO                                                                                               DATE (MM/DD/YYYY)
                                                                       COVERAGES / LIMITS SECTION                                                                                      01/31/2023
AGENCY                                                                                                    NAMED INSURED(S)

Relation Insurance, Inc.                                                                                  The Landmark Condominium Association
POLICY NUMBER                                                                     EFFECTIVE DATE          CARRIER                                                                           NAIC CODE

                                                                                      06/20/2023
BUSINESS AUTO SECTION
    COVERAGES        COVERED AUTO SYMBOLS                                     LIMITS                                   COVERAGES           COVERED AUTO SYMBOLS                        LIMITS
                                                                        BI             1,000,000
                           1          4            9       CSL          EA PER    $

LIABILITY                  2          7                BI EACH ACCIDENT           $

                           3          8                PROPERTY DAMAGE            $



                                                                                                                                                  PHYSICAL DAMAGE

                                                                                                                    TOWING                    3
                                                                                                                                                                        $
                                                                                                                    & LABOR                   7

                                                                                                                                              2        4           8
                                                                                                                    COMP / OTC
                                                                                                                                              3        7

MEDICAL                    2          4            8                                                                SPECIFIED                 2        4           8
                                                       EACH PERSON                $
PAYMENTS                   3          7                                                                             CAUSES OF LOSS            3        7
                                                                        BI EA         DED
TRADITIONAL                2          6                    CSL          PER $                   $                                             2        4           8
(REDUCED)                                                                             DED                           COLLISION
UNINSURED                  3          7                BI EACH ACCIDENT       $                 $                                             3        7
                                                                                      DED
MOTORIST
                           4                           PROPERTY DAMAGE    $                     $
                                                                    BI EA             DED
NEW (ADDED ON)             2          6                    CSL      PER $                       $
UNINSURED                                                                             DED
MOTORIST                   3          7                BI EACH ACCIDENT       $                 $
                                                                                      DED
(IF APPLICABLE)
                           4                           PROPERTY DAMAGE        $                 $
                           YES            STATES       COST OF HIRE                    IF ANY BASIS                               STATES      # DAYS       # VEH        COVERAGE / DEDUCTIBLE
HIRED / BORROWED
LIABILITY                  NO    GA                    $                                                                                                                      COMP      $
                           YES            STATES                                                                    HIRED                                                     SPEC
                                                       GROUP TYPE                               NUMBER OF                                                                     C OF L    $
                                                                                                                    PHYSICAL
                           NO    GA                        EMPLOYEES                        5                       DAMAGE                                                    COLL      $
NON-OWNED
LIABILITY                                                  VOLUNTEERS

                                                           PARTNERS                                                                   COVERAGE IS:                     PRIMARY              SECONDARY
COVERED       (1) ANY AUTO                                            (4) OWNED AUTOS OTHER THAN PRIVATE PASSENGER AUTOS ONLY                               (7) SPECIFICALLY DESCRIBED AUTOS
AUTO          (2) OWNED AUTOS ONLY                                    (5) OWNED AUTOS SUBJECT TO NO-FAULT                                                   (8) HIRED AUTOS ONLY
SYMBOLS       (3) OWNED PRIVATE PASSENGER AUTOS ONLY                  (6) OWNED AUTOS SUBJECT TO A COMPULSORY UNINSURED MOTORISTS LAW                       (9) NON-OWNED AUTOS ONLY

ENDORSEMENTS / REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)

Additional Insured include: Club Members and Condominium Associations




SIGNATURE
 I UNDERSTAND AND ACKNOWLEDGE THAT TRADITIONAL (REDUCED) UNINSURED MOTORIST COVERAGE AND, IF APPLICABLE, NEW (ADDED ON) UNINSURED
 MOTORIST COVERAGE HAVE BEEN OFFERED AND EXPLAINED TO ME. I HAVE SELECTED THE LIMITS AND DEDUCTIBLE OPTIONS SHOWN IN THIS
 APPLICATION.

 I UNDERSTAND THAT THE COVERAGE SELECTION AND LIMIT CHOICES INDICATED HERE OR IN ANY STATE SUPPLEMENT WILL APPLY TO ALL FUTURE POLICY
 RENEWALS, CONTINUATIONS AND CHANGES UNLESS I NOTIFY YOU OTHERWISE IN WRITING.
APPLICANT'S SIGNATURE                                                  DATE                           PRODUCER'S SIGNATURE                                                  NATIONAL PRODUCER NUMBER



ACORD 137 GA (2015/12)                                                                              Page 1 of 5                  © 1996-2015 ACORD CORPORATION. All rights reserved.
                                                                              Attach to ACORD 127 and/or 132
                                                            The ACORD name and logo are registered marks of ACORD
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                                                                                                 AGENCY CUSTOMER ID:              00199161
TRUCKERS SECTION
    COVERAGES       COVERED AUTO SYMBOLS                              LIMITS                                                           PHYSICAL DAMAGE
                                                                BI                                                               COVERED
                        41     46                   CSL         EA PER    $                               COVERAGES            AUTO SYMBOLS            LIMITS                         DEDUCTIBLE

LIABILITY               42     47               BI EACH ACCIDENT          $                                                      42            47

                        43     50               PROPERTY DAMAGE           $                            COMP / OTC                43                                                  $
                                                                                                                                 46

                                                                                                                                 42            47           SCL      FT       LSP
                                                                                                       SPECIFIED
                                                                                                       CAUSES OF LOSS            43                         F        FTW             $

                                                                                                                                 46

MEDICAL                 42     46                                                                                                42            47
                                                EACH PERSON               $
PAYMENTS                43                                                                             COLLISION                 43                                                  $
                                                                BI EA         DED
                        42     46                   CSL         PER $               $                                            46
UNINSURED                                                                     DED
                        43                      BI EACH ACCIDENT      $             $                  TOWING                    46
MOTORIST                                                                                                                                             $
                                                                              DED
                        45                                                                             & LABOR
                                                PROPERTY DAMAGE       $             $
                                                                                                                                        TRAILER INTERCHANGE
                                                                                                                                                    FARTH
                                                                                                          COVERAGES        SYMBOL        # TRAILERS ZONE # DAYS            RADIUS     DEDUCTIBLE

                                                                                                                                 48
                                                                                                       COMP / OTC
NON-TRUCKERS            YES        STATES       COST OF HIRE                   IF ANY BASIS                                      49
HIRED / BORROWED        NO                      $                                                      SPECIFIED                 48
TRUCKERS                YES        STATES       COST OF HIRE                   IF ANY BASIS            CAUSES OF LOSS            49
HIRED / BORROWED
LIABILITY               NO                      $                                                                                48
                                                                                                       COLLISION                                                                     $
                        YES        STATES       GROUP TYPE                           NUMBER OF                                   49
NON-OWNED               NO                          EMPLOYEES                                          TRAILER VALUE       $
AUTO
                                                    VOLUNTEERS                                                         STATES         # DAYS        # VEH
LIABILITY
                                                    PARTNERS
OTHER                                                                                                  HIRED
                                                                                                       PHYSICAL
                                                                                                       DAMAGE


                                                                                                                           COVERAGE IS:                         PRIMARY             SECONDARY
                                                                                                       OTHER



COVERED AUTO SYMBOLS                        (44) OWNED AUTOS SUBJECT TO NO-FAULT              (46) SPECIFICALLY DESCRIBED AUTOS                (49) YOUR TRAILERS IN THE POSSESSION OF
(41) ANY AUTO                               (45) OWNED AUTOS SUBJECT TO A                     (47) HIRED AUTOS ONLY                                 ANOTHER TRUCKER UNDER A TRAILER
(42) OWNED AUTOS ONLY                            COMPULSORY UNINSURED                         (48) TRAILERS IN YOUR POSSESSION UNDER                INTERCHANGE AGREEMENT
(43) OWNED COMMERCIAL AUTOS ONLY                 MOTORIST LAW                                      A TRAILER INTERCHANGE AGREEMENT             (50) NON-OWNED AUTOS ONLY

ENDORSEMENTS / REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)




SIGNATURE
 I UNDERSTAND AND ACKNOWLEDGE THAT UNINSURED MOTORIST COVERAGE HAS BEEN OFFERED AND EXPLAINED TO ME. I HAVE SELECTED THE LIMITS
 AND DEDUCTIBLE OPTIONS SHOWN IN THIS APPLICATION.

 I UNDERSTAND THAT THE COVERAGE SELECTION AND LIMIT CHOICES INDICATED HERE OR IN ANY STATE SUPPLEMENT WILL APPLY TO ALL FUTURE POLICY
 RENEWALS, CONTINUATIONS AND CHANGES UNLESS I NOTIFY YOU OTHERWISE IN WRITING.
APPLICANT'S SIGNATURE                                          DATE                       PRODUCER'S SIGNATURE                                                     NATIONAL PRODUCER NUMBER



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                                                                                                   AGENCY CUSTOMER ID:              00199161
MOTOR CARRIER SECTION
    COVERAGES       COVERED AUTO SYMBOLS                                LIMITS                                                           PHYSICAL DAMAGE
                                                                  BI                                                               COVERED
                        61       67                   CSL         EA PER    $                               COVERAGES            AUTO SYMBOLS            LIMITS                         DEDUCTIBLE

                        62       68               BI EACH ACCIDENT          $                                                      62            67
LIABILITY
                        63       71               PROPERTY DAMAGE           $                            COMP / OTC                63            68                                    $

                        64                                                                                                         64

                                                                                                                                   62            67           SCL      FT       LSP
                                                                                                         SPECIFIED
                                                                                                                                   63            68           F        FTW             $
                                                                                                         CAUSES OF LOSS
                                                                                                                                   64

                                                                                                                                   62            67

                                                                                                         COLLISION                 63            68                                    $

                                                                                                                                   64

MEDICAL                 62       64                                                                      TOWING                    63
                                                  EACH PERSON               $                                                                          $
PAYMENTS                63       67                                                                      & LABOR                   67
                                                                  BI EA         DED
                        62       66                   CSL         PER $               $                                                   TRAILER INTERCHANGE
UNINSURED                                                                       DED                                                                   FARTH
                        63       67               BI EACH ACCIDENT      $             $                     COVERAGES        SYMBOL        # TRAILERS ZONE # DAYS            RADIUS     DEDUCTIBLE
MOTORIST
                                                                                DED
                        64                        PROPERTY DAMAGE       $             $                                            69
                                                                                                         COMP / OTC
                                                                                                                                   70

                                                                                                         SPECIFIED                 69
                                                                                                         CAUSES OF LOSS            70

NON-TRUCKERS            YES          STATES       COST OF HIRE                   IF ANY BASIS                                      69
HIRED / BORROWED                                                                                         COLLISION                                                                     $
                        NO                        $                                                                                70
TRUCKERS                YES          STATES       COST OF HIRE                   IF ANY BASIS            TRAILER VALUE       $
HIRED / BORROWED
LIABILITY               NO                        $                                                                      STATES         # DAYS        # VEH

                        YES          STATES       GROUP TYPE                           NUMBER OF
NON-OWNED               NO                            EMPLOYEES                                          HIRED
AUTO                                                                                                     PHYSICAL
LIABILITY                                             VOLUNTEERS                                         DAMAGE
                                                      PARTNERS
OTHER                                                                                                                        COVERAGE IS:                         PRIMARY             SECONDARY
                                                                                                         OTHER



COVERED AUTO SYMBOLS                          (64) OWNED COMMERCIAL AUTOS ONLY                  (67) SPECIFICALLY DESCRIBED AUTOS                (70) YOUR TRAILERS IN THE POSSESSION OF
(61) ANY AUTO                                 (65) OWNED AUTOS SUBJECT TO NO-FAULT              (68) HIRED AUTOS ONLY                                 ANOTHER TRUCKER UNDER A TRAILER
(62) OWNED AUTOS ONLY                         (66) OWNED AUTOS SUBJECT TO A COMPUL-             (69) TRAILERS IN YOUR POSSESSION UNDER                INTERCHANGE AGREEMENT
(63) OWNED PRIVATE PASS AUTOS ONLY                 SORY UNINSURED MOTORIST LAW                       A TRAILER INTERCHANGE AGREEMENT             (71) NON-OWNED AUTOS ONLY

ENDORSEMENTS / REMARKS (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)




SIGNATURE
 I UNDERSTAND AND ACKNOWLEDGE THAT UNINSURED MOTORIST COVERAGE HAS BEEN OFFERED AND EXPLAINED TO ME. I HAVE SELECTED THE LIMITS
 AND DEDUCTIBLE OPTIONS SHOWN IN THIS APPLICATION.

 I UNDERSTAND THAT THE COVERAGE SELECTION AND LIMIT CHOICES INDICATED HERE OR IN ANY STATE SUPPLEMENT WILL APPLY TO ALL FUTURE POLICY
 RENEWALS, CONTINUATIONS AND CHANGES UNLESS I NOTIFY YOU OTHERWISE IN WRITING.
APPLICANT'S SIGNATURE                                            DATE                       PRODUCER'S SIGNATURE                                                     NATIONAL PRODUCER NUMBER



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                                                                         AGENCY CUSTOMER ID:      00199161




                                TRADITIONAL AND NEW UNINSURED MOTORIST COVERAGE
                                           MANDATORY OFFER AND EXPLANATION


                Georgia insurance law requires that we offer and explain to you Traditional Uninsured Motorist
                Coverage and if applicable, New Uninsured Motorist Coverage. Below is a brief description of
                each coverage option. Only the policy provides a complete description of coverage(s) and
                limitation(s). You have the right to select a specific coverage or reject all uninsured motorist
                coverage(s) in writing.

                Traditional Uninsured Motorist Coverage a/k/a Uninsured Motorist Coverage-Reduced by At-Fault
                Liability Limits pays for bodily injury and property damage losses to you and your passengers as a
                result of an accident with a driver who either has no liability protection and is legally responsible
                for the injuries or damages, or does not have enough protection to pay the full amount that the
                injured person is legally entitled to recover as damages.

                New Uninsured Motorist Coverage a/k/a Uninsured Motorist Coverage-Added on At-Fault Liability
                Limits pays for the same bodily injury and property damage losses as Traditional Uninsured
                Motorist Coverage, however; it provides additional protection that will pay for your damages in
                addition to the At-Fault driver's Liability Coverage Limits up to your New Uninsured Motorist
                Coverage Limits. This new coverage is available on vehicles qualifying as private passenger type
                vehicles under Georgia law.

                You have the right to purchase Traditional Uninsured Motorist Coverage or New Uninsured
                Motorist Coverage, if applicable, with limits up to the liability limits of your policy. Your selection
                coverage options are listed below:


                                I accept Traditional Uninsured Motorist Coverage
                   (initials)


                                I accept New Uninsured Motorist Coverage
                   (initials)


                                I reject ALL Uninsured Motorist Coverage
                   (initials)



                I acknowledge that I read and understand my Traditional Uninsured Motorist and/or New
                Uninsured Motorist Coverage, if applicable, options.




                                               Applicant's Signature                                           Date




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                                                                          AGENCY CUSTOMER ID:   00199161




                                     Example of New Uninsured Motorist Coverage and
                            Traditional Uninsured Motorist Coverage Claim Payment Calculation


          An underinsured driver fails to stop at a red light, hits your car and causes you to have $175,000 in damages.
          The at-fault underinsured driver (At-Fault's) has $50,000 of Liability Coverage. Your policy contains $100,000
          of Uninsured Motorist Coverage.


                                    NEW UNINSURED MOTORIST COVERAGE (IF APPLICABLE)
                   (This coverage is also referred to as Uninsured Motorist-Added on to At-Fault Liability Limits)


          At-Fault's Liability Coverage Limit $50,000
          Your New Uninsured Motorist Coverage Limit $100,000
          Total Amount of Your Damages $175,000




          At-Fault's Liability Coverage =                        $ 50,000
          Your New Uninsured Motorist Coverage =                 $ 100,000
          Total Payment =                                        $ 150,000
          Amount Not Covered =                                   $ 25,000 (a)

          The maximum available coverage in this example was $150,000 (At-Fault's Liability Coverage
          Limit + Your New Uninsured Motorist Coverage Limit).
          (a)
              Please notice that $25,000 of the loss was not covered.



                                TRADITIONAL UNINSURED MOTORIST COVERAGE (IF APPLICABLE)
                              (This coverage is comparable to your current coverage. The coverage is
                       also referred to as Uninsured Motorist Coverage-Reduced by At-Fault Liability Limits)

          At-Fault's Liability Coverage Limit $50,000
          Your Traditional Uninsured Motorist Coverage Limit $100,000
          Total Amount of Your Damages $175,000




          At-Fault's Liability Coverage =                                       $ 50,000
          Your Available Traditional Uninsured Motorist Coverage =              $ 50,000 (a)
          Total Payment =                                                       $ 100,000
          Amount Not Covered =                                                  $ 75,000 (b)

          (a)
                The $50,000 amount shown here is determined by subtracting the At-Fault's Liability Coverage
                Limit from Your Traditional Uninsured Motorist Coverage Limit. The total available Traditional
                Uninsured Motorist Coverage you have in this example is $50,000.

          (b)
                Please notice that $75,000 of the loss was not covered.



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You are hereby notified that under the Terrorism Risk Insurance Act, as amended, (the “Act”), that you have a right to
purchase insurance coverage for losses resulting from acts of terrorism, as defined in Section 102(1) of the Act: The term “act
of terrorism” means any act that is certified by the Secretary of the Treasury – in consultation with the Secretary of Homeland
Security, and the Attorney General of the United States – to be an act of terrorism; to be a violent act or an act that is dangerous
to human life, property, or infrastructure; to have resulted in damage within the United States, or outside the United States in
the case of certain air carriers or vessels or the premises of a United States mission; and to have been committed by an
individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the policy or




FOR PROPERTY LOCATED IN THE STATES LISTED IN THE SCHEDULE BELOW THERE ARE STATE
STATUTORY EXCEPTIONS COVERING CERTAIN FIRE LOSSES IF YOU DECLINE COVERAGE FOR “ACTS OF
TERRORISM” DEFINED UNDER THE ACT. IF AN “ACT OF TERRORISM” CERTIFIED UNDER THE ACT RESULTS
IN FIRE, WE ARE REQUIRED TO PAY FOR THE LOSS OR DAMAGE CAUSED BY THAT FIRE. SUCH COVERAGE
FOR FIRE APPLIES ONLY TO DIRECT LOSS OR DAMAGE BY FIRE TO COVERED PROPERTYAND IS SUBJECT
TO ANY LIMITATIONS OF ANY TERRORISM EXCLUSION, OR INAPPLICABILITY OR OMISSION OF A
TERRORISM EXCLUSION. THIS NOTICE DOES NOT SERVE TO CREATE COVERAGE FOR ANY LOSS WHICH



           STATES THAT DO NOT       ERMIT A    ERRORISM     XCLUSION FOR     IRE   OLLOWING AN      CT OF   ERRORISM:




$       1,434
UNITED STATES GOVERNMENT UNDER THE ACT. NOTE, THIS PREMIUM IS APPLIED TO YOUR POLICY


YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR LOSSES RESULTING
FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY REIMBURSED BY THE UNITED
STATES GOVERNMENT UNDER A FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY
MAY CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION
FOR NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED STATES GOVERNMENT GENERALLY
REIMBURSES 80% OF COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED
DEDUCTIBLE PAID BY THE INSURANCE COMPANY PROVIDING THE COVERAGE. THE PREMIUM CHARGED
FOR THIS COVERAGE IS PROVIDED BELOW AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF


YOU SHOULD ALSO KNOW THAT THE ACT, CONTAINS A $100 BILLION CAP THAT LIMITS U.S. GOVERNMENT
REIMBURSEMENT AS WELL AS INSURERS’ LIABILITY FOR LOSSES RESULTING FROM CERTIFIED ACTS OF
         Case 1:25-cv-00414-SEG               Document 1-6           Filed 01/30/25         Page 22 of 23



IF THE AGGREGATE INSURED LOSSES FOR ALL INSURERS EXCEED $100 BILLION, YOUR COVERAGE MAY




ACCEPTANCE OR   EJECTION OF    ERRORISM NSURANCE       OVERAGE


                                                         b
         b                                               1,6
 X       I hereby decline to purchase terrorism coverage for certified acts of terrorism. I understand that I will have no




                                                                               48441_Q-31




                              Date
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Acord Applications and Terrorism Rejection
Form - Email 2 of 2
Final Audit Report                                                                                 2023-06-13
                                                                                                   2023-06-13


     Created:
     Created:                2023-06-13
                             2023-06-13

     By:
     By:                     Kimberly Langley (kim.langley@relationinsurance.com)

     Status:
     Status:                 Signed
                             Signed

     Transaction ID:         CBJCHBCAABAAGPnyQSVvaUN_KF3xKZ8oiyE9qZr4FSK-
                             CBJCHBCAABAAGPnyQSVvaUN_KF3xKZ8o0iyE9qZr4FSK-




"Acord Applications and Terrorism Rejection Form - Email 2 of 2
" History
*)    Document created by Kimberly Langley (kim.langley@relationinsurance.com)
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&e    Signer yalilu68@gmail.com entered name at signing as Yali Lu
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      Signature Date: 2023-06-13 - 8:11:15 PM GMT - Time Source: server- IP address: 37.65.57.10


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